EXHIBIT 22
IAN HEAD
Center for Constitutional Rights
PO Box 31001
Los Angeles, CA, 90031


                                                                                         05/25/2022
                                                                                   CBP-2022-083266
Dear IAN HEAD,

This is in reply to your Freedom of Information Act Request (FOIA) with U.S. Customs and Border
Protection (CBP). You requested,

“1. Emails with the terms “Palladium,” “SUB-zERO,” “50/50 CBP Assist” using the full term and any
related acronym or abbreviation, between CBP or DHS and any other federal agencies between the dates
of 12/01/2019-3/31/2020.



1. Emails with the terms “Palladium,” “SUB-zERO,” “50/50 CBP Assist” using the full term and any related
   acronym or abbreviation, between CBP or DHS and the New York City Police Department (“NYPD”)
   between the dates of 12/01/2019-3/31/2020.


1. Emails or other communications by CBP or DHS officials, agents, contractors or other employees
   regarding subject matter reported on in the article by Caitlin Dickerson and Zolan Kanno-Youngs,
   “Border Patrol Will Deploy Elite Tactical Agents to Sanctuary Cities,” published in the New York Times
   on February 14, 2020. This includes any emails to or from CBP officials Mark Morgan, Tim Sullivan,
   and/or Lawrence Payne.




1. Emails or other communications by CBP or DHS officials, agents, contractors or other employees
   regarding subject matter reported on in the article by Caitlin Dickerson, Zolan Kanno-Youngs and
   Annie Correal, “Flood the Streets’: ICE Targets Sanctuary Cities With Increased Surveillance,”
   published in the New York Times on March 5, 2020. This includes any emails to or from CBP officials
   Mark Morgan, Tim Sullivan, and/or Lawrence Payne.”


In order to conduct a search for emails maintained by CBP, for each bullet point we need:



1. Name(s) and or e-mail address(es)of individual(s) receiving or sending the e-mail;
2. The time frame in which the search should be conducted; and,
3. Subject matter e-mails pertain to




This is not a denial of your request for records. Please resubmit your FOIA request, along with a
more detailed description of the records being sought, by logging into your existing FOIAOnline
account or creating an account at https://foiaonline.gov.



You may contact this office at (202) 325-0150.
FOIA Division
Ian Head

Center for Constitutional Rights

P.O. Box 31001
Los Angeles, CA, 90031

                                                                                             06/07/2022

                                                                                     CBP-2022-088399

Dear Ian Head,

FOIA request CBP-2022-088399 has been closed as it is a duplicate of an earlier FOIA request that you
submitted (CBP-2022-083266). Your earlier FOIA request will be processed in the order it was received.
All travel (including entry/exit and I94 records) and border apprehension/incident records, should they
exist, will be provided to you at that time.




Sincerely,



U.S. Customs and Border Protection
